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15   Attorneys for Plaintiffs, ZESIS KARAVAS AND BETH SCHELEST
16
                         UNITED STATES DISTRICT COURT
17                          DISTRICT OF NEW JERSEY
18
     ZESIS KARAVAS AND BETH                 Case No.:
19   SCHELEST,
20               Plaintiffs,                COMPLAINT AND JURY DEMAND
21
     vs.
22

23   HLADIK, ONORATO & FEDERMAN
24
                 Defendant
25

26

27

28   COMPLAINT AND JURY DEMAND - 1
          Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 2 of 9 PageID: 2



 1                 ZESIS KARAVAS and BETH SCHELEST, of full age, hereby
 2
     Complain as follows:
 3

 4                                     JURISDICTION
 5
             1.    This action arises out of Defendant’s (as applicable and discussed
 6
     herein) violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et
 7

 8   seq. (“FDCPA”) in its illegal efforts to collect a consumer debt and jurisdiction is
 9
     therefore proper in this Court pursuant to 28 U.S.C. § 1331.
10

11           2.    Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
12           3.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &
13
     (c), because Plaintiffs reside within the District of New Jersey, a substantial
14

15   portion of the events or omissions giving rise to the claim occurred in this District,
16
     and Defendant regularly conducts business in this District.
17
                                          PARTIES
18

19   4.      Plaintiffs ZESIS KARAVAS and BETH SCHELEST (“Plaintiffs” or “Mr
20
     Karavas and Ms Schelest”) are adult individuals and New Jersey residents, and are
21

22   “consumers” as the term is defined by 15 U.S.C. § 1692a(3). Plaintiffs both reside

23   at 3 Riverwood Court, Toms River, NJ, 08757.
24
     5.      Defendant HLADIK, ONORATO & FEDERMAN (“HOF”), is doing
25

26   business in the State of New Jersey as a business entity operating as a collection
27
     agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).
28   COMPLAINT AND JURY DEMAND - 2
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 1   Defendant’s place of business is 1451 Chews Landing Road, Suite 206, Laurel
 2
     Springs, NJ 08021.
 3

 4                                          FACTS
 5
           6.    Plaintiffs are the owners of a parcel of real property commonly known
 6
     as 3 Riverwood Court, Toms River, NJ, 08757 (the “Property”).
 7

 8         7.    Defendant represents non-party THE BANK OF NEW YORK
 9
     MELLON TRUST COMPANY, N.A., NOT IN ITS INDIVIDUAL CAPACITY
10

11
     BUT SOLELY AS TRUSTEE OF NRZ PASS-THROUGH TRUST EBO I FOR

12   THE BENEFIT OF THE HOLDERS OF THE SERIES 2017-1 CERTIFICATES
13
     (“BONY”) in a foreclosure lawsuit (‘the “Lawsuit”) regarding the Property BONY
14

15   filed against Plaintiffs (Superior Court of New Jersey, Ocean County Docket No.
16
     F-022283-14).
17
           8.    On or about June 22, 2015, Plaintiffs’ Motion in Limine to dismiss the
18

19   Lawsuit was granted (“Dismissal Order”). The Dismissal Order specifically
20
     required BONY and its attorneys provide Plaintiffs with discovery prior to filing
21

22
     any motion to reinstate the Lawsuit.

23   …
24

25

26   …
27

28   COMPLAINT AND JURY DEMAND - 3
       Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 4 of 9 PageID: 4



 1
           9.     The Dismissal Order stated, in part:
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 3

 4

 5

 6

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18
           10.    However, notwithstanding the plain requirements in the Dismissal
19

20   Order, in a collection letter dated February 6, 2019, Defendant sent Plaintiffs a
21   “Notice of Motion to Reinstate the Foreclosure Case”, stating Defendant had filed
22
     a motion to reinstate the Lawsuit as follows (the “Illegal Collection Action”):
23

24

25

26

27

28
     COMPLAINT AND JURY DEMAND - 4
           Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 5 of 9 PageID: 5



 1            11.   To date, Plaintiffs have not received the discovery as required by the
 2
     Dismissal Order.
 3

 4            12.   Defendant acts as a “debt collector” as defined in 15 § U.S.C.
 5
     1692a(6), as it “regularly collects or attempts to collect, directly or indirectly,
 6
     [consumer] debts owed or due or asserted to be owed or due another.”
 7

 8            13.   Specifically, Defendant mailed with the Illegal Collection Action a
 9
     statement that:
10

11

12

13

14
              14.   As Defendant is seeking to illegally collect the Debt by moving to

15   reopen the Lawsuit without presenting any of the “requested discovery in advance
16
     of filing any motion to reinstate the [Lawsuit],” Defendant has acted illegally in
17

18   seeking to collect a consumer Debt and acting with no basis in law in collect to the
19
     Debt (indeed, its actions are additionally in contempt of the Dismissal Order).
20
              15.   As a result of this illegal collection activity, Plaintiffs now commence
21

22   this litigation in the United States District Court, District of New Jersey, for
23
     Defendant’s violations of the Fair Debt Collection Practices Act as follows.
24

25

26

27
     ///
28   COMPLAINT AND JURY DEMAND - 5
       Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 6 of 9 PageID: 6



 1
                                           Count I:
 2                   Violations of the Fair Debt Collection Practices Act
 3
                                   15 U.S.C. § 1692 et seq.

 4         16.    As discussed above, Plaintiffs allegedly incurred a financial obligation
 5
     (the “Debt”) to BONY.
 6

 7         17.    The Debt arose from services provided by BONY which were
 8   primarily for family, personal or household purposes and which meets the
 9
     definition of a “debt” under 15 U.S.C. § 1692a(5).
10

11         18.    The Debt was purchased, assigned or transferred to Defendant for
12
     collection, or Defendant was employed by BONY to collect the Debt.
13
           19.    Defendant (as discussed above) attempted to collect the Debt through
14

15   its collection communications with the Plaintiffs and improperly filed Motion to
16
     Reinstate, at the direction of the Creditor, and, as such, engaged in
17

18   “communications” as defined in 15 U.S.C. § 1692a(2).
19         20.    Plaintiffs have suffered and continue to suffer actual damages as a
20
     result of Defendant’s unlawful conduct.
21

22         21.    As a direct consequence of Defendant’s acts, practices and conduct,
23
     Plaintiffs suffered and continue to suffer from humiliation, anger, anxiety,
24
     emotional distress, fear, frustration, and embarrassment. Indeed, the Plaintiffs
25

26   have also contemplated filing bankruptcy to stop Defendant’s illegal collection
27
     conduct.
28
     COMPLAINT AND JURY DEMAND - 6
       Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 7 of 9 PageID: 7



 1          22.    Defendant’s conduct violated 15 U.S.C. § 1692e(5) and e(10) in that it
 2
     threatened to take action against Plaintiffs which it could not legally take or did not
 3

 4   intend to take in collection of a debt. Specifically, Defendant filed the Motion to
 5
     Reinstate the Lawsuit without providing Plaintiffs discovery responses as required
 6
     by the Dismissal Order.
 7

 8          23.    Defendant’s conduct violated 15 U.S.C. § 1692f in that it used unfair
 9
     and unconscionable means to collect a debt and attempted to humiliate and belittle
10

11
     Plaintiffs.

12          24.    The Defendant’s conduct violated 15 U.S.C. § 1692f(1) in that
13
     Defendant attempted to collect an amount not authorized by the agreement
14

15   between Plaintiff and Creditor. Specifically, Defendant failed to meet the
16
     conditions of the Dismissal Order before engaging in its renewed, and illegal,
17
     collection conduct.
18

19          25.    The foregoing acts and omissions of Defendant constitute numerous
20
     and multiple violations of the FDCPA, including every one of the above-cited
21

22
     provisions.

23          26.    Plaintiffs are entitled to damages as a result of Defendant’s violations.
24
            27.    Plaintiffs have been required to retain the undersigned as counsel to
25

26   protect Plaintiffs’ legal rights to prosecute this cause of action, and are therefore
27
     entitled to an award or reasonable attorneys’ fees plus costs incurred.
28   COMPLAINT AND JURY DEMAND - 7
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 1
              WHEREFORE, Plaintiffs demand the following relief as may apply from
 2
     Defendant:
 3

 4
              a. actual damages including, but not limited to, the emotional distress
 5
                 Plaintiffs have suffered (and continue to suffer) as a result of the
 6

 7               intentional, reckless, and/or negligent FDCPA violations pursuant to 15
 8
                 U.S.C. § 1692k(a)(1) including, but not limited to, fear of losing their
 9

10
                 home, frustration, rage, headaches, and time incurred in dealing with

11               these frustrations;
12
              b. for statutory damages of $1,000.00 pursuant to 15 U.S.C. §
13

14               1692k(a)(2)(A);
15

16

17

18   ///
19

20

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     ///
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28
     COMPLAINT AND JURY DEMAND - 8
     Case 1:19-cv-06616-RBK-JS Document 1 Filed 02/22/19 Page 9 of 9 PageID: 9



 1       c. attorney’s fees and costs as permitted under 15 U.S.C. § 1692k; and
 2
         d. All other relief which the Court may impose.
 3

 4       Dated: February 16, 2019
 5
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 7
                                              George Haines, Esq.
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10                                            Denbeaux & Denbeaux
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13                                            New Jersey Bar No. # 013871996
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14

15                                            Attorneys for Plaintiffs,
                                              ZESIS KARAVAS AND BETH
16
                                              SCHELEST
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28 COMPLAINT AND JURY DEMAND - 9
